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        Exhibit 9
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                                                    PETER M. SKINNER
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                                                    E-mail: pskinner@bsfllp.com

                                                    June 3, 2020

BY ELECTRONIC MAIL

Karen D’Amico
Manager of ADR Services
Northeast Case Management Center
American Arbitration Center
1301 Atwood Avenue, Suite 211N
Johnston, RI 02919

       Re:    Spencer Meyer v. Uber Technologies,
              Case No. 01-18-0002-1956

Dear Ms. D’Amico:

        We represent Respondent Uber Technologies, Inc., in the above matter. As we wrote on
May 26, 2020, Claimant Spencer Meyer has filed a motion to vacate the Award entered by
Arbitrator Les J. Weinstein in favor of Uber. In that motion, Mr. Meyer claims that Arbitrator
Weinstein “photographed [Travis] Kalanick in the hearing room” and “confessed that he was afraid
to rule against Uber.” We write to invite Arbitrator Weinstein to submit a declaration addressing
Mr. Meyer’s allegations. See Jardine Matheson & Co. v. Saita Shipping, Ltd., 712 F. Supp. 423,
425-27 (S.D.N.Y. 1989) (relying on affidavits from arbitrators in resolving a bias motion).
       If Arbitrator Weinstein wishes to submit a declaration addressing Mr. Meyer’s allegations,
we respectfully request that the AAA send it to counsel for Uber and Mr. Meyer on or before
June 10, 2020 so that it can be addressed in Uber’s opposition to the motion, which is due on
June 12, 2020, and in Mr. Meyer’s reply, which is due on June 19, 2020. Uber will file any
declaration received from Arbitrator Weinstein with the District Court, along with our
correspondence with the AAA making clear that Uber has had no ex parte communications with
the Arbitrator.


                                            Very truly yours,

                                            S/
                                            Peter M. Skinner

cc:    Les J. Weinstein, Esq.
       Arbitrator

       Brian M. Feldman, Esq.
       Counsel to Claimant Spencer Meyer
